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 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                               SAN JOSE DIVISION

 4
       YELP INC.,
 5                                  Plaintiff,            Case No. 5:24-cv-06101-SVK
 6                           v.
       GOOGLE LLC,
 7                                                        Hon. Magistrate Judge Susan van Keulen
                                    Defendant.
 8

 9
                             DECLARATION OF SATHYA S. GOSSELIN
10
                         IN SUPPORT OF YELP’S AMENDED COMPLAINT
11

12          I, Sathya S. Gosselin, declare as follows:
13          I am an attorney at Hausfeld LLP. I am attorney of record for Plaintiff Yelp Inc. (“Yelp”).
14   I make this declaration to accompany the filing of Yelp’s Amended Complaint. I have personal
15   knowledge of the facts set forth in this declaration, and if called as a witness I would testify
16   competently to these facts.
17          Attached as Exhibit 1 is a true and correct copy of the redline version of Yelp’s Amended
18   Complaint showing what amendments have been made to Yelp’s August 28, 2024, Complaint
19   (ECF No. 1).
20          I declare under penalty of perjury under the laws of the United States that the foregoing is
21   true and correct.
22

23   Executed on this 14th day of May 2025 in Washington, D.C.
24

25                                                                     /s/ Sathya S. Gosselin
                                                                       Sathya S. Gosselin
26

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28
                                      DECLARATION OF SATHYA S. GOSSELIN
                                                   5:24-cv-06101-SVK
